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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

  UNITED STATES OF AMERICA                            Criminal No. 1:20-CR-239

         v.

  ALEXANDA AMON KOTEY,                                Hon. T.S. Ellis III

         Defendant.



                    CONSENT MOTION TO CONTINUE SENTENCING

       Defendant Alexanda Amon Kotey, through undersigned counsel, respectfully moves

the Court to continue the sentencing hearing scheduled for March 4, 2022. The government

consents to the relief sought in this Motion. As grounds for this Motion, Mr. Kotey submits

the following:

           1. On October 6, 2020, Mr. Kotey was charged in an eight-count Indictment with

Conspiracy to Commit Hostage Taking Resulting in Death, in violation of 18 U.S.C. § 1203

(Count 1); Hostage Taking Resulting in the Death of James Foley, in violation of 18 U.S.C. §§

1203 and 2 (Count 2); Hostage Taking Resulting in the Death of Kayla Jean Mueller, in

violation of 18 U.S.C. §§ 1203 and 2 (Count 3); Hostage Taking Resulting in the Death of Joel

Sotloff, in violation of 18 U.S.C. §§ 1203 and 2 (Count 4); Hostage Taking Resulting in the

Death of Peter Edward Kassig, in violation of 18 U.S.C. §§ 1203 and 2 (Count 5); Conspiracy

to Murder United States Citizens Outside of the United States, in violation of 18 U.S.C. §

2332(b)(2) (Count 6); Conspiracy to Provide Material Support to Terrorists Resulting in

Death, in violating of 18 U.S.C. § 2339A (Count 7); and Conspiracy to Provide Material
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Support to a Designated Foreign Terrorist Organization Resulting in Death, in violation of 18

U.S.C. § 2339B.

           2. On September 2, 2021, Mr. Kotey pleaded guilty to all eight counts pursuant to

a plea agreement. Sentencing is currently scheduled for March 4, 2022.

           3. Despite diligent efforts by counsel for Mr. Kotey, additional time is necessary

to prepare the sentencing submission. As a result of the emergence of the Covid-19 Omicron

variant (SARS-CoV-2 variant B.1.1.529), the Alexandria Detention Center (ADC) limited and

then ceased all professional visits. While counsel had some communications with Mr. Kotey

by phone, those contacts were infrequent and not conducive to the types of conversations

necessary to prepare a sentencing submission. As well, the defense has engaged third parties

to assist in preparation for sentencing, which also has been substantially delayed by the

difficulties communicating with ADC inmates due to COVID restrictions.

           4. Moreover, the government expects that there will be significant victim impact

testimony at Mr. Kotey’s sentencing. In addition to the families of Messrs. Foley, Sotloff,

Kassig and Ms. Mueller, counsel expect the living victims to address the Court. Many of these

same families and individuals are also likely to testify in the trial of Mr. Kotey’s co-defendant,

El Shafee Elsheikh, which is scheduled to begin on March 29, 2022. Some of the families and

individuals reside in the United States while others live abroad, including in the United

Kingdom and numerous other countries around the world. Continuing Mr. Kotey’s sentencing

would be intended to minimize the number of times these victims and families would have to

travel to appear in court hearings in this matter, particularly at this time given the recent

increase in positive COVID-19 cases. Moreover, General Order 2022-01, issued by the Court

on January 7, 2022 in response to the Omicron variant, currently requires all international


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travelers to quarantine for seven days after traveling prior to entering the Courthouse.1

Continuing Mr. Kotey’s sentencing to a date following the conclusion of Mr. Elsheikh’s trial

would relieve travel burdens on the victims and their families, particularly given that they

would have to travel within weeks apart if the current sentencing date is maintained – an issue

that was not contemplated in September 2021 when Mr. Kotey’s sentencing date was

scheduled prior to the Omicron outbreak and Mr. Elsheikh’s trial being continued from

January 18, 2022 to March 29, 2022.

            5.




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            6. Counsel respectfully submit that the aforementioned circumstances justify a

postponement of Mr. Kotey’s sentencing hearing. The parties are available on May 20, 2022

or a date after July 20, 2022.

         Accordingly, for the foregoing reasons, the parties respectfully request that the Court

continue Mr. Kotey’s sentencing from March 4, 2022 until May 20, 2022, or a date thereafter

that is convenient to the Court.




1
 See https://www.vaed.uscourts.gov/sites/vaed/files/Gen%20Order%202022-01%20-
%20Updated%20Public%20Entry%20Notices%20with%20Exhibits.pdf)


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DATED: February 7, 2022                  Respectfully Submitted,

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